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                            United States District Court
                                      for the
                            Southern District of Florida

  Jiangmen Benlida Printed Circuit      )
  Co., Ltd., Plaintiff,                 )
                                        )
  v.                                    ) Civil Action No. 21-60125-Civ-Scola
                                        )
  Circuitronix, LLC, Defendant.         )
                  Order Referring Motion to Magistrate Judge
        The Court refers the Plaintiff’s motion to enforce the parties’ settlement
  agreement (ECF No. 104) to United States Magistrate Judge Jonathan
  Goodman for either an order or a report and recommendations, consistent with
  28 U.S.C. § 636(b)(1), Federal Rule of Civil Procedure 72, and Rule 1 of the
  Local Magistrate Judge Rules.
        Done and ordered in Miami, Florida, on November 29, 2022.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
